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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

United States of America, et al.,          Case No. 1:20-cv-03010-APM

                    Plaintiffs,

        v.

Google LLC,                                Judge:   HON. AMIT P. MEHTA

                    Defendant.


State of Colorado, et al.,                 Case No. 1:20-cv-03715-APM

                    Plaintiffs,

        v.

Google LLC,                                Judge:   HON. AMIT P. MEHTA

                    Defendant.




                                    EXHIBIT B
Letter from Caroline Simons, Orrick, Herrington & Sutcliffe, LLP, to Benjamin M.
             Greenblum, Williams & Connelly LLP (July 21, 2021)
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July 21, 2021                                                                               Orrick, Herrington & Sutcliffe LLP
                                                                                            222 Berkeley Street
Via E-Mail                                                                                  Suite 2000
                                                                                            Boston, MA 02116-3740
                                                                                            +1 617 880 1800
Benjamin M. Greenblum                                                                       orrick.com

Williams & Connolly LLP
725 Twelfth Street, N.W.                                                                    Caroline Koo Simons
Washington, D.C. 20005-5901
                                                                                            E csimons@orrick.com
                                                                                            D +1 617 880 1885
Re:       U.S. et al. v. Google LLC, No. 1:20-cv-03010-APM (D.D.C.)                         F +1 617 880 1801
          C.O. et al. v. Google LLC, 1:20-cv-03715-APM (D.D.C.)

Dear Ben:

In accordance with our email agreement on July 9, 2021, non-Party Microsoft Corporation (Microsoft)
makes the below proposal with respect to Google LLC’s (Google) (together with Microsoft, the
Companies) subpoena to Microsoft dated April 13, 2021 (Subpoena). This proposal represents
Microsoft's good faith consideration of Google's subpoena requests, Google's proposed search terms
(Google's Search Term Proposal) and custodians as of July 9 (Google's Custodian Proposal), and the
claims and defenses of the Parties at issue in the above-captioned litigations.

       Search Term Proposal: Microsoft's search term counterproposal to Google's Search Term
        Proposal of May 27, 2021 is attached hereto as Exhibit 1.1

       Go-and-Get Documents: Without waiving Microsoft's position as to the sufficiency of its production
        of, and good faith offers to produce, targeted collections of non-custodial documents to respond to
        certain requests in the Subpoena in lieu of custodial searches, Microsoft includes in its Proposal
        search terms that address those requests. Accordingly, as part of its counterproposal to Google's
        Search Term Proposal, Microsoft provides the following:

          o   Request No. 8: Microsoft offered, collected and produced as Go-and-Get documents



                                              It is Microsoft's position that such documents are sufficient to
              respond to this request. Nevertheless, Microsoft has proposed a search term for Request No.
              8 which, when coupled with Microsoft's prior production, is sufficient to respond to this
              request.

          o   Request No. 17: Microsoft offered, collected and produced as a Go-and-Get document
                                    responsive to this request.


1 The number(s) reflected in the column titled "String No." indicate the corresponding string number(s), if any, for
each RFP included in Google's Search Term Proposal. Microsoft is providing this information to assist Google in its
review of Microsoft's Search Term Proposal and expedite negotiations between the Companies.
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                                               It is Microsoft's position that this document is sufficient to
               respond to this request. Nevertheless, Microsoft has proposed a search term for Request No.
               17 which, when coupled with Microsoft's prior production, is sufficient to respond to this
               request.

           o   Request No. 25, 30, 39 and 43: Microsoft offered, collected and produced Go-and-Get
               materials responsive to these requests. See A. Ray Ltr. re Fifteenth Subpoena Production,
               dated June 17, 2021. To date, Google has not indicated that such documents are insufficient
               to respond to these requests, though that appears to be Google's position. See Letter from
               Benjamin M. Greenblum, Williams & Connelly LLP, to Caroline K. Simons, Orrick, Herrington
               & Sutcliffe LLP (July 6, 2021). Nevertheless, Microsoft has proposed search terms for
               Request Nos. 25, 30, 39 and 43 which, when coupled with Microsoft's prior production, is
               sufficient to respond to this request.

           o   Request No. 51: Microsoft collected and produced as Go-and-Get documents

                                                                                                             It
               is Microsoft's position that such documents are sufficient to respond to this request.
               Nevertheless, Microsoft has proposed a search term for Request No. 51 which, when
               coupled with Microsoft's prior production, is sufficient to respond to this request.

           o   Request No. 79: Microsoft collected and produced custodial documents responsive to this
               request in response to the DOJ's Subpoena to Microsoft. Microsoft served a copy of this
               production on Google contemporaneous with its production to the DOJ. See A. Ray Ltr to
               DOJ re Seventh Subpoena Production, dated April 26, 2021. Nevertheless, Microsoft has
               proposed a search term for Request No. 79 which, when coupled with Microsoft's prior
               production, is sufficient to respond to this request.

        Custodian Proposal: In response to Google's Custodian Proposal, Microsoft proposes to search
         the files of the twenty-seven (27) individuals listed below (Custodians2), as outlined in Exhibit 1 and
         subject to the date ranges provided herein (Microsoft's Custodian Proposal)3. Microsoft's Custodian
         Proposal and Search Term Proposal (the Proposals) are based on Microsoft's reasonable
         investigation to date into the roles and responsibilities of each individual listed herein and/or
         included in Google's Custodian Proposal during his or her tenure at Microsoft.




2   * designates Custodians who are no longer at Microsoft.
3Microsoft proposes searching the time frames provided below, unless Google's Search Term Proposal indicates a
shorter time period be searched or Exhibit 1 notes otherwise.
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           Custodians Proposed by Google                     Additional Custodian Proposed by Microsoft

Steve Ballmer*                                           Joe Belfiore
(Jan. 1, 2003 – present)                                 (Nov. 1, 2009 – Feb. 1, 2020)
Shirley Heath                                            Matt Dahlin
(Aug. 1, 2015 – present)                                 (Jan. 1, 2010 – present)
David Ku*                                                Chuck Friedman
(Oct. 1, 2010 – present)                                 (Jan. 1, 2009 – Nov. 1, 2020)
Qi Lu*                                                   Eduardo Indacochea*
(Jan. 1, 2009 – present)                                 (May 1, 2017 – present)
Yusuf Mehdi                                              Rik van der Kooi
(Jan. 1, 2003 – Nov. 30, 2011; Jun. 1, 2015 – present)   (Dec. 1, 2008 – present)
Satya Nadella                                            Sachin Malhotra
(Jan. 1, 2003 – Feb. 9, 2011; Feb. 4, 2014 - present)    (Jan. 1, 2008 – present)
Richard Qian                                             JC Mao*
(Jan. 1, 2006 – present)                                 (Jan. 1, 2012 – present)
Ganesh Rao                                               Panos Panay
(Sept. 1, 2019 – present)                                (Jan. 1, 2010 – present)
                                                         David Pann
                                                         (Jan. 1, 2010 – present)
                                                         Jordi Ribas
                                                         (Oct. 1, 2010 – present)
                                                         Kya Sainsbury-Carter
                                                         (May 1, 2015 – present)
                                                         Michael Schechter
                                                         (Jan. 1, 2010 – present)
                                                         Rajesh Sundaram
                                                         (Nov. 1, 2009 – May 31, 2015; Jul. 1, 2018 – present)
                                                         Jon Tinter
                                                         (Jan. 1, 2007 – present)
                                                         Brian Utter
                                                         (Nov. 22, 2010 – present)
                                                         Liat Ben-Zur
                                                         (Sept. 1, 2018 – present)
                                                         Rukmini Iyer
                                                         (Jan. 1, 2019 – present)
                                                         Brendan McCabe
                                                         (Jan. 1, 2012 – present)
                                                         Mikhail Parakhin
                                                         (Sept. 1, 2019 – present)
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       Target Date for Substantial Completion of Document Production: Microsoft proposes a
        target date of October 20, 2021 for the substantial completion of its production of responsive non-
        privileged documents in response to the Subpoena, subject to the Companies' agreement on
        search terms by July 30, 2021 and with the understanding that a review of potentially privileged
        documents and submission of a privilege log will occur after this date.

The Proposals that are the subject of this letter are made without waiver of Microsoft's objections to the
Subpoena. Without undertaking any responsibility to do so, Microsoft reserves the right to propose
modifications and amendments to the Proposals, including following additional conferrals with Google,
and to assert additional objections and limitations concerning the Subpoena at any time Microsoft may
deem necessary. Microsoft designates this letter and Exhibit 1 attached hereto as Confidential pursuant
to the Protective Orders entered in the above-captioned cases.

We look forward to continued discussions with you on these Proposals.


Very truly yours,



Caroline Simons
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                                                       GOC RFP

String   RFP                                    Microsoft’s Proposed
                Google’s Proposed Search Term                               Microsoft’s Proposed Search Term
 Nos.    Nos.                                       Custodians




1; 21




1; 21




1; 21
                         Case 1:20-cv-03010-APM Document 169-2 Filed 07/29/21 Page 8 of 40
                                                   GOC RFP

String   RFP                                       Microsoft’s Proposed
                Google’s Proposed Search Term                                   Microsoft’s Proposed Search Term
 Nos.    Nos.                                          Custodians




2; 19
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                                                        GOC RFP

String RFP                                      Microsoft’s Proposed
              Google’s Proposed Search Term                            Microsoft’s Proposed Search Term
No.    Nos.                                     Custodians




 3




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                                      GOC RFP

                                                        Microsoft’s
String   RFP
                Google’s Proposed Search Term            Proposed         Microsoft’s Proposed Search Term
 No.     Nos.
                                                        Custodians




5; 6;
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5; 6;
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                                                        GOC RFP

String RFP   Google’s Proposed
                                  Microsoft’s Proposed Custodians         Microsoft’s Proposed Search Term
 No. No.       Search Term




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                                                             GOC RFP

String   RFP
                Google’s Proposed Search Term   Microsoft’s Proposed Custodians   Microsoft’s Proposed Search Term
 No.     Nos.




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                                                     GOC RFP

String   RFP                                    Microsoft’s Proposed
                Google’s Proposed Search Term                                Microsoft’s Proposed Search Term
 Nos.    Nos.                                       Custodians




10; 13
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                                                  GOC RFP

String   RFP                                     Microsoft’s Proposed
                Google’s Proposed Search Term                                 Microsoft’s Proposed Search Term
 No.     Nos.                                        Custodians



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                                                             GOC RFP

String   RFP   Google’s Proposed Search
                                          Microsoft’s Proposed Custodians       Microsoft’s Proposed Search Term
 No.     No.             Term




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                                                         GOC RFP

String   RFP                                   Microsoft’s Proposed
               Google’s Proposed Search Term                                  Microsoft’s Proposed Search Term
 No.     No.                                       Custodians




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                                          GOC RFP

Strin   RFP                                             Microsoft’s
               Google’s Proposed Search Term                                Microsoft’s Proposed Search Term
g No.   Nos.                                        Proposed Custodians




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                                                  GOC RFP

String   RFP                                     Microsoft’s Proposed
                Google’s Proposed Search Term                                  Microsoft’s Proposed Search Term
 No.     Nos.                                        Custodians




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                                                      GOC RFP

String   RFP                                   Microsoft’s Proposed
               Google’s Proposed Search Term                                 Microsoft’s Proposed Search Term
 No.     No.                                       Custodians




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                                                         GOC RFP

String   RFP   Google’s Proposed
                                     Microsoft’s Proposed Custodians          Microsoft’s Proposed Search Term
 No.     No.     Search Term




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                                                          GOC RFP

String   RFP    Google’s Proposed
                                     Microsoft’s Proposed Custodians          Microsoft’s Proposed Search Term
 No.     Nos.     Search Term




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                                 GOC RFP

String   RFP    Google’s Proposed Search       Microsoft’s
                                                                            Microsoft’s Proposed Search Term
 Nos.    Nos.             Term             Proposed Custodians




 13;
 23;
 40;
 41;
42; 43
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                                                          GOC RFP

String   RFP                                    Microsoft’s Proposed
                Google’s Proposed Search Term                                   Microsoft’s Proposed Search Term
 No.     Nos.                                       Custodians




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                                                           GOC RFP

String   RFP                                   Microsoft’s Proposed
               Google’s Proposed Search Term                                    Microsoft’s Proposed Search Term
 No.     No.                                       Custodians




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                                                          GOC RFP

String   RFP                                    Microsoft’s Proposed
                Google’s Proposed Search Term                                   Microsoft’s Proposed Search Term
 No.     Nos.                                       Custodians




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                                                         GOC RFP

String   RFP                                    Microsoft’s Proposed
                Google’s Proposed Search Term                                    Microsoft’s Proposed Search Term
 No.     Nos.                                       Custodians




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                                                            GOC RFP

String   RFP                                   Microsoft’s Proposed
               Google’s Proposed Search Term                                   Microsoft’s Proposed Search Term
 No.     No.                                       Custodians




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                                                          GOC RFP

String   RFP                                    Microsoft’s Proposed
                Google’s Proposed Search Term                                    Microsoft’s Proposed Search Term
 No.     Nos.                                       Custodians




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                                                       GOC RFP

String   RFP                                    Microsoft’s Proposed
                Google’s Proposed Search Term                                   Microsoft’s Proposed Search Term
 No.     Nos.                                       Custodians




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                                                            GOC RFP

String   RFP                                   Microsoft’s Proposed
               Google’s Proposed Search Term                                    Microsoft’s Proposed Search Term
 No.     No.                                       Custodians




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                                                          GOC RFP

String   RFP                                    Microsoft’s Proposed
                Google’s Proposed Search Term                                    Microsoft’s Proposed Search Term
 No.     Nos.                                       Custodians




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                                                GOC RFP

String   RFP                                    Microsoft’s Proposed
                Google’s Proposed Search Term                                Microsoft’s Proposed Search Term
 Nos.    Nos.                                       Custodians




 33;
34; 35
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                                                          GOC RFP

String   RFP                                    Microsoft’s Proposed
                Google’s Proposed Search Term                                   Microsoft’s Proposed Search Term
 No.     Nos.                                       Custodians




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                                                       GOC RFP

String   RFP                                    Microsoft’s Proposed
                Google’s Proposed Search Term                                   Microsoft’s Proposed Search Term
 No.     Nos.                                       Custodians




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                                                            GOC RFP

String   RFP                                   Microsoft’s Proposed
               Google’s Proposed Search Term                                    Microsoft’s Proposed Search Term
 No.     No.                                       Custodians




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                                                          GOC RFP

String   RFP
               Google’s Proposed Search Term   Microsoft’s Proposed Custodians    Microsoft’s Proposed Search Term
 No.     No.




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